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                                      UNITED STATES DISTRICT COURT
                                                 NORTHERN DISTRICT OF OHIO

 UNITED STATES OF AMERICA                                                  §      JUDGMENT IN A CRIMINAL CASE
                                                                           §
 v.                                                                        §
                                                                           §      Case Number: 1:21-CR-00258-JRA(1)
 JOSHUA GLOWACKI                                                           §      USM Number: 37215-509
                                                                           §      Eric C. Nemecek
                                                                           §      Defendant’s Attorney

THE DEFENDANT:
 ☒ pleaded guilty to count(s)                                     1 of the indictment.
       pleaded guilty to count(s) before a U.S. Magistrate
 ☐     Judge, which was accepted by the court.
       pleaded nolo contendere to count(s) which was
 ☐     accepted by the court
 ☐     was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                     Offense Ended      Count
 18:2252(a)(2) Receipt Of Visual Depictions Of Real Minors Engaged In Sexually Explicit Conduct          03/23/2021         1




The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Count 2 ☒ is ☐ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                    March 4, 2022
                                                                    Date of Imposition of Judgment




                                                                    s/John R. Adams
                                                                    Signature of Judge



                                                                    John R. Adams,            U. S. District Judge
                                                                    Name and Title of Judge

                                                                    March 25, 2022
                                                                    Date
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                                                     IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

180 months as to count 1 with credit for federal time served.

 ☒ The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends placement at FCI Elkton and participation in a sex offender program.



 ☒ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                     ☐     a.m.          ☐   p.m.     on

          ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ before 2 p.m. on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                            RETURN
I have executed this judgment as follows:


         Defendant delivered on                                   to


at                                      , with a certified copy of this judgment.




                                                                                         UNITED STATES MARSHAL

                                                                                                   By
                                                                                     DEPUTY UNITED STATES MARSHAL
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                                                   SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : fifteen (15) years.



                                             MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
      release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            ☐ The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
 4.   ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution (check if applicable)
 5. ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6. ☒ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
 attached page.
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                               STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change. If not in compliance with the condition of supervision requiring full-time
occupation, you may be directed to perform up to 20 hours of community service per week until employed, as approved or directed by
the pretrial services and probation officer.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. As directed by the probation officer, you shall notify third parties who may be impacted by the nature of the conduct underlying
your current or prior offense(s) of conviction and/or shall permit the probation officer to make such notifications, and/or confirm your
compliance with this requirement.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at the www.uscourts.gov.

 Defendant’s Signature                                                                             Date
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                                 SPECIAL CONDITIONS OF SUPERVISION
Mental Health Treatment

You must undergo a mental health evaluation and/or participate in a mental health treatment program and follow the rules
and regulations of that program. The probation officer, in consultation with the treatment provider, will supervise your
participation in the program (provider, location, modality, duration, intensity, etc.).

Search / Seizure

You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted by a
United States probation officer. Failure to submit to a search may be grounds for revocation of release. You must warn
any other occupants that the premises may be subject to searches pursuant to this condition.

The probation officer may conduct a search under this condition only when reasonable suspicion exists that you have
violated a condition of supervision and that the areas to be searched contain evidence of this violation. Any search must be
conducted at a reasonable time and in a reasonable manner.

Sex Offender Assessment

You must participate in a sex offense-specific assessment.

Sex Offender Registration and Notification Act (Adam Walsh Act)

Pursuant to 18 U.S.C. § 3583 you are required to register under the Sex Offender Registration and Notification Act, and
you must comply with the requirements of that Act as directed by the U.S. Pretrial Services & Probation Officer.

Pursuant to the Adam Walsh Child Protection Act of 2006, you will keep the registration current in each jurisdiction in
which you reside, are employed, or are a student. You must, no later than three business days after each change in name,
residence, employment or student status, appear in person in at least one jurisdiction in which you are registered and
inform that jurisdiction of all changes in reporting information. Failure to do so may be a violation of your conditions of
supervised release and may be a new federal offense punishable by up to ten years.

Sex Offender Treatment

You must participate in a sex offense-specific treatment program and follow the rules and regulations of that program.
The probation officer will supervise your participation in the program (provider, location, modality, duration, intensity,
etc.).

Polygraph Examination

You must submit to periodic polygraph testing at the discretion of the probation officer as a means to ensure that you are
in compliance with the requirements of your supervision or treatment program.

Sexually Explicit Material

You shall not possess any materials, including pictures, photographs, books, writings, drawings, videos, or video games,
depicting and/or describing sexually explicit conduct, which is defined as: (A) sexual intercourse, including genital-
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genital, oral-genital, anal-genital or oral-anal, whether between persons of the same or opposite sex; (B) bestiality; (C)
masturbation; (D) sadistic or masochistic abuse; or (E) lascivious exhibition of the genitals or pubic area of any person.

Computer/Internet Restriction

You are prohibited from accessing any computer, ‘on-line’ computer service, Internet Service Provider, bulletin board
system or any other public or private computer network or the service at any location (including employment or
education) without prior written approval of the U.S. Pretrial Services and Probation Officer or the Court. Any approval
shall be subject to any conditions set by the U.S. Pretrial Services and Probation Officer or the Court with respect to that
approval.

The defendant shall provide the U.S. Pretrial Services and Probation Office with accurate information about his/her entire
computer system (hardware/software); all passwords used by him/her; and his/her Internet Service Provider(s); and will
abide by all the rules of the Computer Restriction and Monitoring Program.

Computer Monitoring

The defendant shall consent to the U.S. Pretrial Services and Probation Office conducting periodic unannounced
examinations of his/her computer system(s), which may include retrieval and copying of all memory from
hardware/software and/or removal of such system(s) for the purpose of conducting a more thorough inspection and will
consent to having installed on his/her computer(s), at his/her expense, any hardware/software to monitor his/her computer
use or prevent access to particular materials. The defendant hereby consents to periodic inspection of any such installed
hardware/software to insure it is functioning properly.

Minor Contact Restriction

You must not seek, obtain or maintain any residence, employment, volunteer work, church or recreational activities
involving minors (persons under the age of 18) in any way, without the prior express written approval of the probation
officer.

Residence Restriction

You must not reside within direct view of school yards, parks, public swimming pools, playgrounds, youth centers, video
arcade facility, or other places primarily used by persons under the age of 18.

Residence School/Daycare

You must not reside within 1,000 feet of a school or daycare center without the express written approval of the probation
officer.

No Sex Paraphernalia

You must not possess bindings, blindfolds, restraints, handcuffs, or other sadomasochistic paraphernalia.

No Contact with Victim

You must not communicate or otherwise interact with "Lily," either directly or through someone else, without first
obtaining the permission of the probation officer.
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                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments page.
                     Assessment                Restitution            Fine       AVAA Assessment*                         JVTA Assessment**
 TOTALS                  $100.00               $10,000.00             $.00                       $.00

 ☐ The determination of restitution is deferred until    An Amended Judgment in a Criminal Case (AO245C) will be entered
     after such determination.
   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
         Payment made to “Lily”. See sealed attachment for victim information.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.




 ☐ Restitution amount ordered pursuant to plea agreement $
 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
       payments page may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☒     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ☒ the interest requirement is waived for the          ☐ fine                            ☒ restitution
       ☐ the interest requirement for the                       ☐ fine                                ☐ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ☐ Lump sum payments of $                                            due immediately, balance due

        ☐ not later than                                        , or

        ☐ in accordance                    ☐      C,          ☐        D,       ☐       E, or       ☐       F below; or

 B      ☐ Payment to begin immediately (may be combined with                    ☐       C,          ☐       D, or             ☐       F below); or

 C      ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                                   (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment;
              or

 D      ☒ The defendant must pay 25% of defendant's gross income per month, through the Federal Bureau of Prisons Inmate
              Financial Responsibility Program.

 E      ☒ If a restitution balance remains upon release from imprisonment, payment is to commence no later than 60 days
              following release from imprisonment to a term of supervised release in monthly payments of at least a minimum of 10%
              of defendant's gross monthly income during the term of supervised release and thereafter as prescribed by law.
 F      ☒     Special instructions regarding the payment of criminal monetary penalties:
              It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 1, which
              shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  Joint and Several
    See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
    Several Amount, and corresponding payee, if appropriate.

        ☐ Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
        loss that gave rise to defendant's restitution obligation.
 ☐      The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
